Case 2:05-cV-024O7-.]DB-tmp Document 9 Filed 06/21/05 Page 1 of __2 Plage|D 3

 

IN THE UNITED sTATEs DISTRICT cOURT F'LED BV

FOR THE wESTERN DISTRICT OF TENNESSEE "
wESTERN DIVISION MJUNZ| FH in ‘|3

%<E§§§‘r U.S § 11-‘:01.10
CHARLES M. MURPHY, JR.r W-D 95: T'N: §§§P%-“

Plaintiff,
VS. NO. 05-2407-MaP

UNITED STATES OF AMERICA,

Defendant.

ORDER OF RECUSAL

Judge Samuel H. Mays, Jr. hereby recuses himself from the

above-referenced case and returns the file to the Clerk Of Court

for reassignment by random draW.

It is so ORDERED this a,$ day of June, 2005.

JAW/vw__

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

Th!s document entered on the docket sheet c n
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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02407 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Charles M. Muprhy

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Honorable J. Breen
US DISTRICT COURT

